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12
     Attorneys for Defendant PGA TOUR, INC.
13

14                                 UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                 Case No. 5:22-cv-04486-BLF
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                  DECLARATION OF BROOK DOOLEY
                    Plaintiffs,                     IN SUPPORT OF PGA TOUR INC.’S
19                                                  MOTION TO COMPEL PUBLIC
               v.
20                                                  INVESTMENT FUND OF THE
     PGA TOUR, INC.,                                KINGDOM OF SAUDI ARABIA AND
21                                                  YASIR OTHMAN AL-RUMAYYAN’S
                    Defendant.                      COMPLIANCE WITH DOCUMENT AND
22                                                  DEPOSITION SUBPOENAS
23                                                  Courtroom: 3
                                                    Judge:     Hon. Beth Labson Freeman
24
                                                    Date Filed: August 3, 2022
25
                                                    Trial Date: January 8, 2024
26

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     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
     INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA AND YASIR OTHMAN AL-RUMAYYAN’S
                  COMPLIANCE WITH DOCUMENT AND DEPOSITION SUBPOENAS
                                  Case No. 5:22-cv-04486-BLF
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 1
     PGA TOUR, INC.,
 2
                    Counterclaimant,
 3
               v.
 4
     LIV GOLF, INC.,
 5
                    Counterdefendant.
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     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
     INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA AND YASIR OTHMAN AL-RUMAYYAN’S
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 1             I, Brook Dooley, declare that:

 2             1.     I am an attorney, duly licensed to practice law in California, and a partner with the

 3   law firm of Keker, Van Nest & Peters LLP, counsel for Plaintiff, PGA TOUR, Inc. (“TOUR”), in

 4   the above-captioned action and in the underlying action, Jones, et al. v. PGA TOUR, Inc., Case

 5   No. 5:22-cv-04486-BLF, pending in the United States District Court for the Northern District of

 6   California. I submit this declaration in support of the TOUR’s Motion to Compel Public

 7   Investment Fund of the Kingdom of Saudi Arabia and Yasir Othman Al-Rumayyan’s Compliance

 8   with Document and Deposition Subpoenas. I have personal knowledge of the facts stated herein

 9   and, if called as a witness, I could and would testify competently as to them under oath.

10             2.     I have corresponded with counsel for Public Investment Fund of the Kingdom of

11   Saudi Arabia (“PIF”) and Mr. Al-Rumayyan both by teleconference and in writing regarding the

12   disputed issues, including one formal meet and confer call to address these disputed issues on

13   October 10, 2022. Such attempts to resolve these issues were unsuccessful.

14             3.     Attached hereto as Exhibit 1 is a true and correct copy of an article by Wael

15   Mahdi, PIF to exceed Q2 objective with assets under management of $480bn, Arab News, dated

16   December 13, 2021.

17             4.     Attached hereto as Exhibit 2 is a true and correct copy of an email from Rim

18   Taylor to Atul Khosla regarding Project Wedge – Model Discussion, dated April 18, 2022,

19   produced by LIV Golf, Inc. (“LIV”) in the underlying litigation with the bates numbers

20   LIV000001249-52.

21             5.     Attached hereto as Exhibit 3 is a true and correct copy of an article by Rick Maese,

22   Is LIV “the future of golf” – or just golf with a soundtrack? Washington Post, dated July 30,

23   2022.

24             6.     Attached hereto as Exhibit 4 are excerpted portions of the August 18, 2022,

25   Transcript of Proceedings before the Honorable Beth Labson Freeman, United States District

26   Judges in the underlying action.

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28                                             1
     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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 1             7.    My partner Elliot R. Peters and I negotiated with the law firm representing PIF and

 2   Mr. Al-Rumayyan a letter agreement, pursuant to which Mr. Al-Rumayyan and PIF agreed to

 3   treat the TOUR’s subpoenas, “as if the PGA Tour had personally delivered a copy of” the

 4   subpoenas to Mr. Al-Rumayyan or an officer or managing agent of PIF in the United States.

 5   Attached hereto as Exhibit 5 is a true and correct copy of the September 22, 2022, Letter

 6   Agreement re: Third Party subpoenas.

 7             8.    Attached hereto as Exhibit 6 is a true and correct copy of the Subpoena to Testify

 8   at a Deposition in a civil action for Yasir bin Othman Al-Rumayyan, served on September 22,

 9   2022.

10             9.    Attached hereto as Exhibit 7 is a true and correct copy of the Subpoena to Testify

11   at a Deposition in a civil action for Public Investment Fund of the Kingdom of Saudi Arabia,

12   served on September 22, 2022.

13             10.   Attached hereto as Exhibit 8 is a true and correct copy of the PIF’s homepage,

14   https://www.pif.gov.sa/en/Pages/About-Timeline.aspx, (as of October 17, 2022).

15             11.   Attached hereto as Exhibit 9 is a true and correct copy of the Vision 2030

16   homepage, https://www.vision2030.gov.sa/v2030/overview/ (as of October 17, 2022).

17             12.   Attached hereto as Exhibit 10 is a true and correct copy of an article by Bob Harig,

18   Golf Legend Greg Norman set to run competing tour that hopes to begin play in 2022,

19   ESPN.com, dated October 29, 2021.

20             13.   Attached hereto as Exhibit 11 is a true and correct copy of an article LIV Golf

21   Outlines Plans for Next Two Years After $2 Billion Investment, Golf Channel Digital, dated May

22   10, 2022

23             14.   Attached hereto as Exhibit 12 is a true and correct copy of an article by The

24   Athletic Staff, Brooks Koepka, Abraham Ancer the latest to leave PGA Tour for LIV Golf:

25   Reports, The Athletic.com, dated June 21, 2022.

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28                                             2
     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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     Case 5:22-cv-04486-BLF Document 148-1 Filed 11/09/22 Page 5 of 9



 1             15.   Attached hereto as Exhibit 13 is a true and correct copy of an article by Jason

 2   Lemon, LIV Golf Tournament at Trump Club Sees Thin Crowds, $1 Tickets: Reports,

 3   Newsweek, dated July 30, 2022.

 4             16.   Attached hereto as Exhibit 14 is a true and correct copy of an email from Atul

 5   Khosla to Kerri Edwards regarding Deloitte Request list, dated April 5, 2022, produced by LIV in

 6   the underlying litigation with the bates numbers LIV000000661-664.

 7             17.   Attached hereto as Exhibit 15 is a true and correct copy of an email between

 8   Alhanouf Almarshad and Anna Chaldysheva regarding Updated MIC draft, dated August 15,

 9   2022, produced by LIV in the underlying litigation with the bates numbers LIV000000793-805

10             18.   Attached hereto as Exhibit 16 is a true and correct copy of a presentation entitled

11   “Project Wedge, Case Comparison,” dated July 2022, produced by LIV in the underlying

12   litigation with the bates numbers LIV000000676-83.

13             19.   Attached hereto as Exhibit 17 is a true and correct copy of a presentation entitled

14   “League Media Strategy – Updated,” dated October 1, 2021, produced by LIV in the underlying

15   litigation with the bates numbers LIV000001858-1917.

16             20.   Attached hereto as Exhibit 18 is a true and correct copy of an email from Kerri

17   Edwards to Atui Khosla and others regarding Comms update for PIF/HE, dated July 10, 2022,

18   produced by LIV in the underlying litigation with the bates numbers LIV000000950-51.

19             21.   Attached hereto as Exhibit 19 is a true and correct copy of a LIV organizational

20   chart, produced by LIV in the underlying litigation with the bates number LIV000000001.

21             22.   Attached hereto as Exhibit 20 is a true and correct copy of Yasir Al Rumayyan’s

22   LinkedIn profile page: https://www.linkedin.com/in/yasiralrumayyan/?originalSubdomain=sa (as

23   of October 17, 2022).

24             23.   Attached hereto as Exhibit 21 is a true and correct copy of a GACI First

25   Investment Company Offering Circular dated September 27, 2022, https://www.rns-

26   pdf.londonstockexchange.com/rns/8852A_1-2022-9-27.pdf (as of October 17, 2022).

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28                                             3
     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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     Case 5:22-cv-04486-BLF Document 148-1 Filed 11/09/22 Page 6 of 9



 1             24.   Attached hereto as Exhibit 22 is a true and correct copy of an article by

 2   Bloomberg, Saudi Arabia’s PIF to Hire Tens of Staff for New York Subsidiary, dated September

 3   20, 2022.

 4             25.   Attached hereto as Exhibit 23 is a true and correct copy of an article by Matthew

 5   Martin, Saudi Wealth Fund Plans San Francisco Office, dated February 13, 2019.

 6             26.   Attached hereto as Exhibit 24 is a true and correct copy of an article by Saeed

 7   Azhar, Saudi Sovereign Fund PIF Opens London, NY and Hong Kong Offices, Reuters, dated

 8   February 24, 2022.

 9             27.   Attached hereto as Exhibit 25 is a true and correct copy of an article by Bradley

10   Hope, How a Reality-TV Producer Became Rainmaker to $300 Billion Saudi Fund, The Wall

11   Street Journal, dated February 10, 2020.

12             28.   Attached hereto as Exhibit 26 is a true and correct copy of an article by Frank

13   Kane, A new force shaping the future of the global economy: Saudi Arabia PIF chief, Arab News,

14   dated April 10, 2018.

15             29.   Attached hereto as Exhibit 27 is a true and correct copy of an article by Katie Paul,

16   Saudi wealth fund aims to nearly double size by 2020, Reuters, dated October 25, 2017.

17             30.   Attached hereto as Exhibit 28 is a true and correct copy of a presentation for the

18   Priority A Summit powered by FII Institute, dated September 22, 2021, https://fii-

19   institute.org/wp-content/uploads/2022/07/FII-PRIORITY-PROGRAM-AGENDA-21.09.22-1.pdf

20   (as of October 17, 2022).

21             31.   Attached hereto as Exhibit 29 is a true and correct copy of a Twitter posting from

22   the U.S. Chamber (@USChamber), dated September 18, 2022.

23             32.   Attached hereto as Exhibit 30 is a true and correct copy of an announcement of the

24   2022 ABANA Achievement Award Dinner Honoring Yasir Al-Rumayyan, The Plaza Hotel, 768

25   Fifth Avenue, New York, N.Y., November 28, 2022, https://www.abana.co/events/all/2022-

26   abana-achievement-award-dinner/ (as of October 17, 2022).

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28                                             4
     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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 1             33.   Attached hereto as Exhibit 31 is a true and correct copy of the LIV Golf, Players

 2   Directory, https://www.livgolf.com/players-directory (as of October 19, 2022).

 3             34.   Attached hereto as Exhibit 32 is a true and correct copy of the LIV Golf

 4   Invitational Series Schedule: Complete Dates, Winners, Purses,

 5   https://www.si.com/golf/news/2022-liv-golf-invitational-series-schedule-complete-dates-winners-

 6   purses (as of October 19, 2022).

 7             35.   Attached hereto as Exhibit 33 is a true and correct copy of an article by Alex

 8   Miceli, LIV Golf is Drawing Up a 2023 Schedule to Start in February and Include Events in

 9   Spain, Australia, Sports Illustrated, dated September 2, 2022.

10             36.   Attached hereto as Exhibit 34 is a true and correct copy of an email from Chris

11   Campbell to Greg Norman regarding Invite | Aramco team Services – New York 2021, dated

12   September 14, 2021, produced by LIV in the underlying litigation with the bates numbers

13   LIV000001934-39.

14             37.   Attached hereto as Exhibit 35 is a true and correct copy of an article by Joel Beall,

15   Another Trump property will host the latest Saudi-backed golf tournament, GolfDigest.com,

16   dated August 29, 2022.

17             38.   Attached hereto as Exhibit 36 is a true and correct copy of Yasir Al-Rumayyan’s

18   Responses and Objections to PGA TOUR, Inc.’s Subpoena to Testify at a Deposition, dated

19   October 3, 2022.

20             39.   Attached hereto as Exhibit 37 is a true and correct copy of PIF’s Responses and

21   Objections to PGA TOUR, Inc.’s Subpoena to Testify at a Deposition, dated October 3, 2022.

22             40.   Attached hereto as Exhibit 38 is a true and correct copy of an email string between

23   Maile Yeats-Rowe, counsel for PGA TOUR and Kevin Teruya, counsel for PIF and Mr. Al-

24   Rumayyan, dated October 10, 2022.

25             41.   Attached hereto as Exhibit 39 is a true and correct copy of an email string between

26   Maile Yeats-Rowe, counsel for PGA TOUR and Dominic Surprenant counsel for PIF and Mr. Al-

27   Rumayyan, dated October 12, 2022.

28                                             5
     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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 1             42.   Attached hereto as Exhibit 40 is a true and correct copy of an email from Jane

 2   Macneille to Tim Taylor regarding PR slide for PIF Board deck, dated February 10, 2022,

 3   produced by LIV in the underlying litigation with the bates numbers LIV000001290-91.

 4             43.   Attached hereto as Exhibit 41 is a true and correct copy of an article by Adam

 5   Lucente, Saudi Public Investment Fund acquires shares in Amazon, Google, Uber, Al-Monitor,

 6   dated August 16, 2022.

 7             44.   Attached hereto as Exhibit 42 is a true and correct copy of an article Saudi

 8   Arabia’s PIR to hire 50 staff to expand New York office: Bloomberg report, Arab News, dated

 9   September 20, 2022.

10             45.   Attached hereto as Exhibit 43 is a true and correct copy of an article by Aya

11   Batrawy, Saudi Arabia’s triumphant week reclaims the West’s embrace, AP News, dated

12   September 26, 2022.

13             46.   Attached hereto as Exhibit 44 is a true and correct copy of an article by Joel Beall

14   and Dan Rapaport, The PGA Tour vs. LIV: Inside the battle between a giant that won't budge and

15   a startup that won't stop, Golf Digest, dated August 9, 2022.

16             47.   Attached hereto as Exhibit 45 is a true and correct copy of an email from Atul

17   Khosia to Kerri Edwards regarding Weekly update for PIF, dated March 31, 2022, produced by

18   LIV in the underlying litigation with the bates numbers LIV000000657-59.

19             48.   Attached hereto as Exhibit 46 is a true and correct copy of LIV Golf, Inc press

20   release entitled “LIV Golf announces 2023-2025 expanded event schedule with $2 billion

21   dedicated to golf’s global growth,” LIVGolf.com, dated May 10, 2022.

22             49.   Attached hereto as Exhibit 47 is a true and correct copy of an article Inside the

23   wildest two weeks in the history of professional golf, ESPN.com, dated June 20, 2022.

24             50.   Attached hereto as Exhibit 48 is a true and correct copy of an article by Reuters

25   Staff, Uber raises $3.5 billion from Saudi Arabia’s sovereign wealth fund, Reuters, dated June 1,

26   2016.

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     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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 1             51.    Attached hereto as Exhibit 49 is a true and correct copy of the relevant excerpts

 2   from LIV, Inc.’s Responses and Objections to PGA TOUR, Inc.’s First Set of Requests for

 3   Production, dated September 27, 2022.

 4             52.    Attached hereto as Exhibit 50 is a true and correct copy of an article by Zach

 5   Helfand, titled Will the Saudis and Donald Trump Save Golf—or Wreck it? NewYorker.com,

 6   published in the October 24, 2022 issue.

 7             I declare under penalty of perjury that the foregoing is true and correct, and that this

 8   Declaration was executed on November 9, 2022, in San Francisco, California.

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                                                      BROOK DOOLEY
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     DECLARATION OF BROOK DOOLEY IN SUPPORT OF PGA TOUR INC.’S MOTION TO COMPEL PUBLIC
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